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                                                                                                              FILED
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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case
                                                                                                              UAV 1 n     ?nt~



                                      UNITED STATES DISTRICT COUH                                   rr  CLERK US DIS"r RICl COURT
                                                                                                     SOUTHERN DISTRICT OF CALIFORNIA
                                         SOUTHERN DISTRICT OF CALIFORNIA                             BY                 ~ DEPUTY


             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                 V.                                 (For Offenses Committed On or After November I, 1987)
             IRVING SANCHEZ-CHAVEZ (2)
                                                                       Case Number:         16CR0561-BAS

                                                                    HAMILTON ARENDSEN
                                                                    Defendant's Attorney
REGISTRA TION NO.                49424298
o
jgI pleaded guilty to count{s)         TWO (2) OF THE INFORMATION

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is acUudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                   Nature of Offense                                                                 Number(s)
8 USC 1326                        REMOVED ALIEN FOUND IN THE UNITED STATES                                                2




     The defendant is sentenced as provided in pages 2 through                 2           ofthis judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)                                                    is          dismissed on the motion of the United States.

 jgI    Assessment: $100. 00 WAIVED



 jgI    No fine              0 Forfeiture pursuant to order filed                                              , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.


                                                                    MAY 9. 2016
                                                                    Date oflmpOSition ..OfSent~



                                                                    HON.a~     YNTHIA BASHANT
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                  16CR0561-BAS
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· AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

 DEFENDANT:                IRVING SANCHEZ-CRAVEZ (2)                                               Judgment - Page 2 of 2
 CASE NUMBER:              ] 6CR056 I-BAS


                                                  IMPRISONMENT
  The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
  TIME SERVED




  o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
  o     The court makes the following recommendations to the Bureau of Prisons:




  o     The defendant is remanded to the custody of the United States Marshal.

   o    The defendant shall surrender to the United States Marshal for this district:
        o    at                         A.M.                   on
             -----------------
        o as notified by the United States Marshal.
                                                                    ------------------------------------
        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
   o    Prisons:
        o    on or before
        o    as notified by the United States MarshaL
        o    as notified by the Probation or Pretrial Services Office.

                                                        RETURN

  I have executed this judgment as follows:

        Defendant delivered on
                                 ------------------------- to ------------------------------
  at _________________ , with a certified copy of this judgment.


                                                                    UNITED STATES MARSHAL



                                      By                               UNITED STATES MARSHAL


                                                                                                       16CR0561-BAS
